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                                           Exhibit F

                             Extracts of Catalyst Supply Agreement




91100-001\DOCS-ÐE:153329.1
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                                          e                                       e
ö    5.4 Davison wi gen mauf anor purhae prce var on its Cays
                 mauf opon dur th te of the Ag an sh aet or det
                 ART's acun on a qualy bas, wi 60 days followi th en of ea caen
                 qua, for th vaue, eith potive or neve, of                  such vaance for th qu. At th

                 en of ea caen yea, th paes sh ac th be es of su va for

                 th caen yea on the boks of Davn an ART. The vace sh be cacu
             . by re to th Exhibit V athed he.

     55 ART wi                  loa Davison ce su for the purse of fu the mø1n11 by Da
                 of cata extu th ar renale an ne to mata th Da
                 hydr mauf faties th ar ut in surt of prvidi
                 Cayst to ART put to th Agent Such loa wi no be us by Da to


~
                 cove stc exon of su faties bu sh be us by Davso to mRÏ1Úin

                 exst pla an equipmen in goo op codition to me it obHgaDS

                 her ("ce Caita Ex''). In ord to evde su loa, ART
                 wi hold a dem note in sutiy th fomi athed as Exbit VI (th "D
                 Note'') to evdece the boirwI by Davison in eah caen yea. Bo an
                 reym wi be mae as desbe here and demd for paym of th fu
                 outdi prpa amun of al or any Ded Note ma be ma by ART (b

                 acon of its Execve Commtt) at any tie, includ in th even of ART's

                 diluton.
     5.6 By Debe 1 of eah caenda yea, Davi will submt to th Exutve Comm
                 of ART ("Com''), in conjmicton with ART's anua ope pla Davi's
                 es of the prjec Matece Cata F.nditm for the followi caen
(l                                                                                                    Pae 7
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                          e          ,I                     .e
          yea. lls esti~ sh includ a description, in renale deta of the planed or

"         ex matece capita prjects. Thes este and the reated loa to be
          prvide to Davi~n will reui the unmous approva of the ExCom. Any loan

          apprved by the ExCOm in any caenda yea wil not exce th lesser of: (a) the
          estte for su yea prvided by Davison an approved by the ExCom; or (b) the

          amount of   Matence Caita Extu for such yea actuly incur by Davin.
          1fac amounts for a caend8'yea âr (or ar renaly exed by Davison to be) in

          ex of th es apved by the ExCom, then Davison maý se aprova of

          adona loan amounts from the ExCom.

     5.7 To the exnt the ExCom ha apprved loan to Davin for a calend yea, Davison wi

           submt to the magement of ART prompty, but in any event not late th the 10th of



~
          ea month a sttement showi the apprved este, the Maitece Capita

           Exditu and the matenance caita loan mae in the caenda yea to date, and the
           amun of mate caita expdi incu and payable or pad by Davin in

           the imatly pre month togeter with surtg documentaon as renably

           re by ExCom. To the extent preously autorize by the ExCom, ART will then

           lend Davison unde the Ded Note on a Ban Day with niet (90) days of the

           iest the amount se fort in the stateent as necsa for Davson to mae, or

           reimbu its~ for payment to its vendor or suppliers for such Matenace Capita

           Exptues in the imediately prg calendar month.

     5.8 Davison will capitaize monthy on its acwiti rerds the amowit of Mantence

           Caita Extu incued and will deeciate thes expenditus over an eight-yea
           peod, all in accrdce with generly acted acunting priciples in the United

t)                                                                                   Page 8
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                                          e                                                   e
~             Staes as in efect frm time to tie ("GAA"). The ExCom may reue th Davn
              reew th depreiation period with its independent apprase and adjus it if nec
              in acrdce with GAA to propely reec the decline in the underlyi ecnomic
              vaue of suh Maitece Capita Expeditus.
    5.9 Davison will prmptly, but not later th the 10th day of each month advise ART of                               the

              amoun of, and ART shl pay withn iuet (90) days, a manufactg suhae in an

             . amount equa to the depreiaton exptues inured by Davison in such caen
              month plus inte for such month on the cuulatve depeciation exditu incu

              thug the end of suh month at a rate equa to, and cacuated and payable on the sae

              basis as, the inter payable un the Grce Cret Agrment. Sepy, OD th
              appprat date, Davison will mae an aggate prncipa and intest paym on the

              maten cata loa frm ART. ART will regn and recrd th paymt of
~             pricipa and inter in its books an rerds, and on the grd, wlch is atted to an

              mae a pa of              the Ded Note, acrdly. Davson shal mata acurte rerd
              of al fee, exenss an asse relat to Manteance Caita Expenditu. Such
              rerd shal be ope to inpeon and audit by ART at all renable ties dur th

              ter of        ths Agrent and for              th (3) yea threer.

    5.1 0 Not les th 120 days pror to the commencemen of each caenda yea in whch tl


              Agen is in effec with the excetion of the cut yea, Davison wil sut its
              esed budget for diret and indirct factory adstation expnses plus deciaton
              dwi the fortcomi caenda yea to the ExCom ("Maufactu Surhaes''). The
              cacuation of           Manufactung Surhaes shall exclude all profit magin and al over
              alocations wher a diect beefit or serce to ART is not provided or identifiable. Such

~                                                                                                                   Pae 9
